Case 1:07-cV-12034-I\/|LW Document 1 Filed 10/26/07 Page 1 of 6
/-\

.--`

uNiTED sTATEs DisTRicT couRT` Fll;ED mg
FoR THE DisTRicT oF MAssAcHu§E‘Fl=§Rf‘S OF

q= ub
****************n*****+***************i*********i***** lmn UCT 2b A

U.S.[llSTRlCT CUURT

MARK MEDE|ROSl C A MWR\C_\ UF MD`SS`

Plaintiff
v.
M|CHAEL CARTER, JL|Dl HAVENS, and JURY TR|AL DEMANDED
SEVEN H|LLS BEHAV|ORAL HEALTH, |NC.,

dib/a G|FFORD STREET BEHAVlORAL
MED|C|NE and HEALTH CL|N|C,

Defendants 07 CA 1 2 0 3 4 HLL

**********'k*i-ii********i-******************************i*

#4#»1-1-1-1-:¢1-

1-

coMPLAiNT MEé//
N\A

JUR|SD|CT|ON

1. The Court has jurisdiction over this action pursuant to 28 U.S.C. 1332, in that
plaintiff is a citizen of the State of Maine, the defendants are citizens of the
Commonweaith of Massachusetts. and the amount in controversy exceeds $75,000,
exclusive of interest and costs.

PARTIES

2. Plaintiff MARK MEDE|ROS ("MARK") is an individual residing in the State of Maine.

3. The defendant M|CHAEL CARTER ("CARTER") is an individual with an usual place
of business at 26 Gifford Street, New Bedford, Bristol County, Massachusetts.

4. The defendant JUDl HAVENS (“HAVENS") is an individual with an usual place of
business at 26 Gifford Street, New Bedford, Bristol County, Massachusetts.

5. The defendant SEVEN H|LLS BEHAVlORAL HEALTH, lNC., d/b/a G|FFORD
STREET BEHAV|ORAL MED|C|NE and HEALTH CL|NlC (“G|FFORD STREET”),

10.

11.

Case 1:O7-cV-120§_4-MLW Document 1 Filed 10/26/07 Page 2 of 6

4_`

is a corporation duly organized under the laws of the Commonweaith of
Massachusetts, with its principal place of business at 589 South First Street, New
Bedford, Bristol County, Massachusetts
At all times relevant hereto, defendant CARTER was duly licensed as a Mental
Health Counselor and legally authorized to provide medical and therapy services in
the Commonweaith of Massachusetts.
At all times relevant hereto, defendant CARTER was employed by, and he provided
medical and therapy services at the facility of, defendant G|FFORD STREET.
At all times relevant hereto, defendant HAVENS was duly licensed as a Mental
Health Counselor and legally authorized to provide medical and therapy services in
the Commonweaith of Massachusetts.
At all times relevant hereto, defendant HAVENS was employed by defendant
G|FFORD STREET, where she was the Program Director of the facility of defendant
G|FFORD STREET, and the supervisor of defendant CARTER.

FACTS COMMON TO ALL CLA|MS
The plaintiff MARK was a patient of defendant CARTER, receiving medical and
therapy services and treatment at G|FFORD STREET.
ln the course of his treatment of MARK, the defendant CARTER deviated from
accepted therapeutic practices in that he (a) negligently and carelessly failed to
treat, or improperly treated, plaintiff, an individual who was suffering from material
psychological problems; (b) failed to divulge in a reasonable manner to plaintiff
suchient information to enable him to give or withhold his consent to the course of
treatment followed by defendant; (c) failed to maintain proper boundaries between

2

12.

13.

14.

15.

Case 1:O7-cv-12034-|\/|LW Document 1 Filed 10/26/07 Page 3 of 6

r»-i`

patient and therapist; (d) mishandled the transference and counter-transference
phenomena which arose out of their patient-therapist relationship; (e) negligently
conducted or handled the termination of the professional therapeutic relationship
with plaintiff, and terminated that relationship improper|y, and/orfai|ed to assist him
in obtaining other professional treatment in accordance with accepted therapeutic
procedure or practice; and (t) negligently undertook to treat plaintiff, a patient who
had psychological problems which were beyond said defendant's capacity to treat,
and negligently failed to refer plaintiff to another more competent professional
person for proper treatment
The defendant CARTER knew, or should have known, that his treatment of MARK
was inappropriate and substandard, and violated the standards of therapeutic
practice.
During the period of time while the defendant CARTER was treating MARK,
defendants HAVENS and G|FFORD STREET knew, or should have known1
defendant CARTER's treatment of the plaintiff deviated from accepted therapeutic
practices
Notwithstanding that knowledge, defendants HAVENS and G|FFORD STREET
failed (a) to counsel defendant CARTER that his therapeutic treatment of the
plaintiff was inappropriate, or (b) to warn MARK that he was receiving inappropriate
therapeutic treatment from defendant CARTER, or (c) to report defendant
CARTER's conduct to the appropriate licensing authorities.

CLA|M l
Plaintiff realleges and incorporates herein the allegations contained in each and

3

16.

17.

18.

19.

20.

21.

Case 1:O7-cv-1,_2_Q34-|\/|LW Document 1 Filed 10/26/07 Page 4 of 6

,-..`

every other paragraph of this Complaint.
As a direct and proximate result of the defendant CARTER's negligence,
carelessness, and lack of ski||, the plaintiff was caused to suffer severe pain of body
and anguish of mind and is entitled to recover damages, for the injuries sustained
by him.

CLA|M ||
Plaintiff realleges and incorporates herein the allegations contained in each and
every other paragraph of this Complaint.
As a result of the defendant CARTER's failure to provide MARK with Sufficient
information to make an informed judgment about the risks inherent in his treatment,
the plaintiff has been damaged and is entitled to recover damages, for the injuries
sustained by him.

CLA|M |l|
Plaintiff realleges and incorporates herein the allegations contained in each and
every other paragraph of this Complaint.
The defendant CARTER held himself out to be a person skilled in and capable of
providing therapy to the plaintiff, and in consideration of the sums paid by the
plaintiff, agreed to provide therapy in a manner consistentwith accepted therapeutic
practice.
The defendant CARTER breached his agreement in that he was significantly
impaired, and thus incapable of providing propertherapy to the plaintiff, he deviated
markedly from accepted standards of therapeutic practice, and as a result of said

breach the plaintiff has been seriously injured.

4

22.

23.

24.

25.

26.

27.

28.

29.

30.

Case 1:O7-cV-1_2`034-I\/|LW Document 1 Filed 10/26/07 Page 5 of 6

4-¢..`

CLA|M |V
Plaintiff realleges and incorporates herein the allegations contained in each and
every other paragraph of this Complaint.
Defendant CARTER, as a therapist, had a fiduciary relationship with MARK, his
patient, and owed plaintiff a duty of trust and loyalty
Plaintiff N|ARK reposed trust and confidence in defendant CARTER as his therapist.
Defendant CARTER violated the trust and confidence reposed in him by plaintiff
ln so acting, defendant CARTER breached his fiduciary duty to plaintiff, thereby
proximately causing him great damage.
CLA|M V
Plaintiff realleges and incorporates herein the allegations contained in each and
every other paragraph of this Complaint.
As a direct and proximate result of defendant HAVENS' negligencel carelessness,
and lack of skil|, the plaintiff was caused to suffer severe pain of body and anguish
of mind and is entitled to recover damages, for the injuries sustained by him.
CLA|M V|
Plaintiff realleges and incorporates herein the allegations contained in each and
every other paragraph of this Complaint.
As a direct and proximate result of defendant G|FFORD STREET's negligence1
carelessness, and lack of ski||, the plaintiff was caused to suffer severe pain of body
and anguish of mind and is entitled to recover damages, for the injuries sustained

by him.

Case 1:07-cV-_1,_2__034-I\/|LW Document 1 Filed 10/26/07 Page 6 of 6

REL|EF REQUESTED
WHEREFORE, the plaintiff demands judgment against the defendants as follows:
A. On CLA|MS | through V|r in an amount which is fair, just and adequate for
the injuries sustained, and the pain and suffering endured, plus interest and

costs of suit.

PLA|NT|FF DEMANDS A TR|AL BY JURY ON ALL CLA|MS.

M
l
C MEN L. DURSO, ESQ |RE

B.B.O.#139340

ROBERT C. GABLER, ESQU|RE
B.B.O. # 547227

175 Federai Street, Suite 1425
Boston, MA 02110-2241
617-728-9123

October 25, 2007

 

